                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                  1:06CR31

UNITED STATES OF AMERICA                          )
                                                  )
Vs.                                               )             ORDER
                                                  )
MARK CHRISTOPHER WATKINS.                         )
                                                  )


        THIS CAUSE coming on to be heard and being heard before the undersigned on July

5, 2006, pursuant to a Memorandum filed by the Angela L. Pickett, United States Probation

Officer, requesting that a bond hearing be scheduled for the defendant and further, pursuant

to a motion filed by the defendant on June 28, 2006 entitled, “Motion for Unsecured Bond”.

At the call of this matter on for hearing, it appeared that the defendant was present with

counsel and that the Government was present through Assistant United States Attorney

Donald Gast and from the evidence offered the court makes the following findings:

        Findings.    The undersigned has considered and reviewed the United States

Probation Office’s Pretrial Services Report and the Order of Detention Pending Trial entered

in this matter by the undersigned on May 4, 2006. The undersigned has further considered

the recommendation of Angela L. Pickett, United States Probation Officer, contained in a

Memorandum filed on June 23, 2006. In that Memorandum, it was the recommendation that

based upon the successful completion by the defendant of the Jail Based Inpatient Treatment

Program that the defendant be released on terms and conditions of pretrial release. The

undersigned has further reviewed the factors as set forth under 18 U.S.C. § 3142(g) and finds




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that based upon a reconsideration of those factors that the court cannot find, by a

preponderance of the evidence, that the defendant is a risk of flight nor has there been

presented by clear and convincing evidence that there is now a danger to any other person

or the community that would be posed by the defendant’s release. As stated above, the

defendant has completed the Jail Based Inpatient Treatment Program and it is the

recommendation of the probation office that the defendant be released on terms and

conditions of pretrial release.

       IT IS, THEREFORE, ORDERED:

       1.     That the motion of the defendant entitled, “Motion for Unsecured Bond” is

hereby allowed and that the defendant be released on terms and conditions of pretrial release.

       2.     Upon the oral entry of the order of the court, the Government gave notice

of appeal and this court stayed the entry of the order setting terms and conditions of pretrial

release for the defendant.        Later, the Government advised the court orally that the

Government did not wish to appeal this matter and therefore the order setting terms and

conditions of pretrial release and allowing the defendant to be released on bond was entered

in writing by the undersigned.

                                               Signed: July 14, 2006




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